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                         Exhibit A
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Good day to you sir,

My name is Albin Hofmeijer and I'm an old friend of Roman. We met about 6 years ago in
Gothenburg when my friend Yves introduced us. Back then we were young and had a lot of
vigor and curiosity about the world. We dreamt about becoming big rappers (or at least I did)
and went out trying to interact with women but often failed because we were not that cool. We
eventually bought a studio together and tried to make rap music, some for fun but most to try to
deliver a message about believing in yourself and that nothing is stopping you from becoming
what you really wanna be in this world.

We have been on a couple of trips together, including a trip to Hong Kong and Taiwan, and
have been taking a couple of trips to cabins in the Swedish woods. Roman seems to favour the
calm of the woodlands to of the active city. During these trips we often spoke about how to get
better in any and all areas of life.

As one of my friends started a self help group for men Roman joined as one of its founding
members. The purpose of this group was to share your own experiences and let other people
comment on your actions and reactions towards those experiences. Roman more often than not
was able to reply toward others with great insight into what their true problem was and give
great feedback on how to proceed with the situation. This commonly amazed me because I felt
like he truly understood some things that I didn't but that I realised when he gave his feedback.
He did this with my sharing on multiple occasions.

I have had a troubled childhood, not in the sense of getting my basic needs met but in the sense
that my parents weren't always there for me and even when they were they were almost always
distant in mind. Roman helped me alot in this area and we used to have long talks late at night
in the studio about how to heal the wounds inflicted in my childhood. He was always there for
me when I needed someone to talk to and even though we don't always see eye to eye I would
consider him one of if not the person that has had the greatest positive impact on my life.

I have always had trust in Roman and he never failed me.

                                            Best regards

                                            Albin Eddie Hofmeijer
                                            Sweden 08-16-202
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Dear Judge,

My name is Alex Gustafsson. I am the father of a three-year-old and work as a mid-level
manager for a large global corporation. I met Roman Sterlingov about 20 years ago at a
school in Sweden where we both studied Swedish. He was an ambitious and excellent
student.

Arriving in Sweden as a teenager, not knowing a single word of Swedish, and trying to fit into
society, culture, and find new friends is quite challenging. Being about the same age and
having undergone the same journey myself, I know this firsthand.

Roman has always struck me as intelligent and passionate about computers and
programming. He is calm, composed, and sensible. I cannot recall any instance of him being
involved in conflicts or disputes. Roman communicates well with everyone and always
resolves disagreements peacefully.

Roman is dedicated to intellectual and spiritual growth. He reads extensively and has a
strong interest in business, entrepreneurship, investment, and travel. Our conversations
were always engaging, as we shared many common interests. We also enjoyed physical
activities, running, discussing healthy lifestyles, and hobbies like golf and visiting the
bathhouse.

He is always positive, respects different viewpoints, and never judges others, even when he
disagrees. He easily makes new acquaintances in any setting. Throughout our friendship, I
have never seen Roman wish harm on anyone, act negatively, or speak ill of others.

On the contrary, I have seen Roman inspire and help people find the right path in life. His
enthusiasm has often influenced me, broadening my outlook and encouraging new ventures.

Roman’s love for animals is notable. He has rescued stray animals multiple times and
helped them find loving homes. His kindness towards animals reflects his caring nature.

Roman is hardworking, disciplined, and thoughtful. He carefully considers the consequences
of his actions before proceeding. Despite his ambitions, he remains down-to-earth and treats
everyone with respect, regardless of their background, religion, or social status.

Roman consistently demonstrates a positive attitude and philosophical approach to life’s
events. No matter what happens, he remains calm and seeks to understand life's
occurrences thoughtfully.

Sincerely,
Alex Gustafsson
2024/08/07
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 much more than we did before. He needed support from his family but also there was more
time to talk about various topics, world events, Ideas, and he was still staying positive through
this difficult time. I also met other people who know Roman due to the series of events and they
all have praised him for what a good person he Is and how much of a positive impact he has
had on them in their lives, this conflnned further my opinions on him being a generally good
person who doesn't have the intent to cause hann or direct negativity towards others. Another
thing that surprised me about Roman, Is that while he's been Incarcerated, I found out he has
been providing counseling services to various people that are in prison and even people who
are on the outside. He even asked me to see if I know anyone who needs counseling, and that I
should connect them to him if they need help. Again, this is a testament to what kind of a kind
and positive person he is.

Your honor, I think you should consider that Roman is a genuinely good person who has no
aiminal record and is not a threat to society, as a reminder I offered to put up my own house up
to secure bond, I wouldn't do this even for some of my friends because I have trust in Roman
that he would stick to his word, and doesn't intend to do hann. He has a family that is
concerned about his well being and we hope that this event will be soon in his past and he can
move on in his life. Thank you.
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Carl Lindström

Ul. Marszalkowska 80
00-026 Warsaw
Poland

12 August, 2024



Dear Judge:

I am writing you regarding the Roman Sterlingov case, to shine some light on Roman’s
character as my friend.

I have been friends with Roman since 2019. We met through common friends when I
was invited to join a support group in Gothenburg, Sweden. Roman was a regular at
these meetings and what immediately struck me was how enlightened he seemed to be;
seemingly free from the everyday worries that many of us had. He appeared to have an
aura of acceptance of his place in the world, the events he experienced, and the people
around him. I cannot remember him ever ascribing external factors as a source of agony
or hindrance to him living his best life. His sharings were more of a spiritual kind, such as
conundrums about metaphysics and how to optimally live an examined life. This is not
to say that he could not relate to other people – Roman was a good listener and provided
valuable feedback to other group members.

In the summer of 2020, I had the pleasure of traveling in a camper van for a week in
Poland with Roman and two other friends. We had a great time, and I remember Roman
being kind, sociable, relaxed and sometimes calling it a night when the rest of us went
out to party.

In my experience Roman has a humble attitude toward life, and an open and respectful
attitude toward others, showing a lot of gratitude for the simple things, as well as
displaying a high moral standard.

Sincerely,




Carl Lindström
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Leif Mårdström                                                                 Jönköping, Sweden
RE: Roman Sterlingov                                                                July 29th, 2024
                                                                            mardstrom@gmail.com
                                                                                 +46 72 221 67 89

The Honorable Randolph D. Moss
U.S. District Court
District of Columbia,
333 Constitution Avenue, N.W.,
Washington D.C. 20001
RE: Roman Sterlingov

Dear Mr. Randolph D. Moss,

My name is Leif Mårdström, and my wife, Carina Fri, and I are the parents of Viktor Mårdström. We
came to know Roman Sterlingov when he became a classmate and close friend of our son.

Roman Sterlingov arrived in Sweden with his mother from Russia as a 13-14-year-old boy, without
any direct connections to Sweden. Impressively, he quickly learned the Swedish language, which was
entirely foreign to him. He also quickly made friends and became a good member of the community.

Several years ago, when Roman Sterlingov moved from Jonkoping to Gothenburg, our contact
became more sporadic. However, our memories of Roman Sterlingov remain very positive. He was an
intellectual and charming person with a great sense of humor. It should also be noted that he was
always very polite to us as parents.

In summary, based on our memories of Roman Sterlingov, we find it difficult to understand that he
would have knowingly committed criminal acts.

Sincerely,
Leif Mårdström & Carina Fri
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Dear Judge,

My name is Nina Pogudina, and I live in Russia, Saint Petersburg, Ligovsky Prospect, house 225. I have
been a friend of Tatiana Sterlingova from our youth up until now, so I have observed the life of her son,
Roman Sterlingov, since his childhood. From a young age, Roman was an exceptionally curious and kind
person. He loved animals, and never ignored the problems of friends and loved ones, which characterizes
him as someone who is not indifferent to life and others' suffering. Roman has always been an avid reader
and continually engaged in self-education. Despite the fact that Tatiana raised her son alone from the age
of seven, her husband — an intelligent but weak-willed man — began drinking and continues to do so to
this day.

After moving from Russia to Sweden, I met Roman in October 2019. We planned a joint vacation in Prague,
Czech Republic, where we met. Roman was an adult, well-developed young man, kind and open,
interested in art, technology, philosophy, and nature. He is focused on personal development. He has a
wonderful and warm relationship with his mother. Roman has always been positive, and composed, and
left a great impression on me.



It is a great honor for me to write this letter to You. I hope I have not tired You with its reading.



Respectfully,

Nina Pogudina [handwritten personal signature]

August 9, 2024

Russia, Saint Petersburg, Ligovsky Prospect 225
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                                         _
                                         We open up language to everyone




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Dear Judge:

My name is Tatiana Sterlingova. I am a Swedish citizen and I work as assistant master at
School of Health and Welfare (Jönköping University).

I would like to tell you some facts about my son, Roman Sterlingov.

Roman was born in 1988 in Leningrad, USSR. In 1995, after divorce with his father, we
moved to the city of Voronezh and Roman began to study at school. He studied very well and
showed great interest in mathematics, physics, and chemistry. He had no conflicts, and his
class fellow and teachers always appreciated his good will, open mind and ability to help
people in need.


In 2002, when Roman was 14 years old, we moved to Sweden. He learned Swedish very fast
and had no problem to orient himself in a new reality. He studied at school and then at
gymnasium with very high results. He had many friends. He always helped other students
who had problems with different subjects to improve their knowledge. He began to work at
his free time quite soon (he distributed the advertisement) to be able to send money to his
grandmother in Russia.


After gymnasium Roman obtained a job as a web designer. He moved away from home and
began his life as adult. He had never forgotten to help his grandparents in Russia. There were
many poor old people in Russia. Every time we visited Russia, we could see people who beg
for alms. Roman had always helped them.


We have never lost touch and have a very warm relationship.
Roman is a very calm, positive and kind person who never had legal trouble. He spends a lot
of time at own personal development, which results in healthy lifestyle (no smoking, alcohol,
drugs). He is a mindful and helpful son. He treats other people with respect and
understanding.




                                                          Best regards,
                                                       Tatiana Sterlingova
                                                          Tatiana Sterlingova
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Dear Judge


My name is Tobias Suomalainen, I am 33 years old and live in Gothenburg, Sweden. I am currently
working as a social worker at an elementary school.

I meet Roman through mutal friends here in Gothenburg, when me and a friend were starting up a
Men’s group as I heard he was interested in this. The group is about personal development and to
become mature men.

From the start Roman was friendly, warm and engaged in the group and its development. He
participated in many meetings, events and hikes we arranged. During this occassions he and I
developed a friendship because our mutal interests and same kind of personalities. Roman was
particulary good at seeing positive aspects in other persons in the group and to communicate this.

At one period in our friendship I was trying to learn mathematics for an exam. When I talked about
this he offered his help to me which was very appreciated.

Overall I think Roman is a good person and a loyal friend.


Sincerely



Tobias Suomalainen



Landalaberg 40, 411 29

Gothenburg

Sweden

tobias_suomalainen@hotmail.com

+46702447972
  Case 1:21-cr-00399-RDM               Document 321-1           Filed 08/15/24        Page 15 of 16
Viktor Mårdström                                                                   Gothenburg, Sweden
RE: Roman Sterlingov                                                                      July 28th, 2024
                                                                           viktor.mardstrom@gmail.com
                                                                                       +46 73 543 64 09

The Honorable Randolph D. Moss
U.S. District Court
District of Columbia,
333 Constitution Avenue, N.W.,
Washington D.C. 20001
RE: Roman Sterlingov

Dear Mr. Randolph D. Moss,

My name is Viktor Mårdström, and I am a 36-year-old engineer residing in Gothenburg, Sweden. I
originally hail from Jonkoping, where I attended school and became classmates with Mr. Roman
Sterlingov for about six years. During this period, we developed a close friendship, and it was
profoundly shocking to learn of his conviction for such serious crimes.

I have known Mr. Roman Sterlingov since late 2001, shortly after he moved to Sweden from Russia.
His friendship was a formative influence on me during our junior high and high school years. We have
maintained our connection over the years, and I last spoke with him just a few weeks prior to his
arrest.

Roman and I quickly bonded over our shared sense of humor, interest in technology, and lengthy
discussions on various topics, from Hollywood movies to Swedish politics. We often collaborated on
high school projects, and working with Roman was always an enjoyable experience. Some of my
fondest memories involve times spent with him. He has significantly impacted my life, helping me
reflect on what truly matters, making me humbler, and more at peace with myself. Roman has
consistently been there for me, whether assisting with math homework or helping me move to a
new apartment.

Roman is witty and intelligent. He has always been enthusiastic about sharing and teaching topics, he
is knowledgeable about and is open to new ideas and eager to explore new areas of knowledge.
Roman is also strongly principled and altruistic. At his core, he is driven by a desire to do what is right
and just and to advance such causes, rather than by the pursuit of material wealth.

Sincerely,
Viktor Mårdström
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Kaohsiung, Taiwan (R.O.C,)
July 19th, 2024


The Honorable Randolph D. Moss
U.S. District Court
District of Columbia,
333 Constitution Avenue, N.W.,
Washington D.C. 20001


Re: Roman Sterlingov




Your Honor,

As Roman's sentencing approaches, I hope this letter provides insight into his character.

My name is Yves, and I’ve known Roman for over 10 years, ever since we met in Sweden through a self-
development community.

From the beginning, Roman has been an incredibly positive and supportive influence in my life. I do
consider him my best friend, and I can confidently say that I wouldn’t be where I am today without his
support and insights.

I would describe Roman as exceptionally intelligent, wise, and outgoing. Always willing to listen and use his
sharp mind to help others navigate their challenges.

We've shared many experiences together —traveling around the world, attending self-help seminars,
creating music with empowering lyrics, or working on videos for his YouTube channel, where he would
spend months writing and developing complex ideas, only on the off-chance that his content might help any
viewer navigate those concepts.

While I always remember him being very tech-savvy, particularly with cryptocurrency and IT, I never knew
him to be involved in such a large-scale Bitcoin operation.

And although he seemed to enjoy a fairly comfortable living, it never appeared that he was handling
anywhere near the vast sums of money mentioned in this case.

I understand the serious responsibility you bear and trust that you will make a fair and informed decision,
and I hope this letter helped you in that task.

As someone who cares deeply about Roman, I believe it would be a great loss to his community if he were
to be incarcerated, as it has already been thus far, and I simply hope to see my friend again soon.

Thank you for your time and consideration.

Respectfully,


                                                                                   Yves Brechbill
